
PER CURIAM.
This matter recurs on the petition for habeas corpus, the writ, the return of respondent, and the supplemental comment of petitioner. Upon further consideration we are of the opinion that the petitioner is not unlawfully detained His contention that he was unlawfully deprived of the right of counsel is disposed of adversely to him by former decisions of this court. See Johnson v. Mayo, 158 Fla. 264, 28 So.2d 585; Carnley v. Cochran, Fla., 123 So.2d 249; and Jones v. Cochran, Fla., 125 So.2d 99.
Accordingly, the writ of habeas corpus heretofore issued is quashed, the cause dismissed, and the petitioner remanded to the custody of the respondent.
It is so ordered.
ROBERTS, C. J., and THOMAS, HOB-SON, DREW and THORNAL, JJ., concur.
